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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


MARTHA CHANG, on behalf of
herself and all others similarly situated,

         Plaintiff,                             Case No. 8:22-cv-01472-JSM-AAS
v.

LINCARE HOLDINGS INC.,

      Defendant.
____________________________________/

                    LINCARE HOLDINGS INC.’S AMENDED
                  NOTICE OF PENDENCY OF RELATED ACTIONS

         In accordance with Local Rule 1.07, Defendant Lincare Holdings, Inc.

certifies that the instant action:

_X_ IS                related to pending or closed civil or criminal case(s)

                      previously filed in this Court, or any other Federal or State

                      court, or administrative agency as indicated below:

                      Catherine Cottam v. Lincare Holdings, Inc.; United States District
                      Court, Middle District of Florida; Tampa Division Case
                      number 8:22-cv-01595-MSS-MRM

                      Kenneth Eichman v Lincare Holdings Inc.; Superior Court for the
                      State of California, Kings County, Case Number 22C-0225

                      Charlene Kennedy v. Lincare Holdings, Inc.; United States District
                      Court, Northern District of California, Case Number 3:22-cv-
                      03974




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___ IS NOT        related to any pending or closed civil or criminal case filed

                  with this Court, or any other Federal or State court, or

                  administrative agency.


        Counsel and unrepresented parties must inform the Court about any

related cases previously filed with any court or administrative agency. And

counsel and unrepresented parties have a continuing duty to promptly inform

the Court of any newly filed similar or successive cases by filing an Amended

Notice.

DATED: July 28, 2022

                                    PHELPS DUNBAR LLP

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                           CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a true copy of the foregoing was

filed electronically with the Clerk of the Court on July 28, 2022, to be served by

operation of the Court’s electronic filing system to Avi R. Kaufman

(kaufman@kaufmanpa.com) and Rachel E. Kaufman of Kaufman P.A., 237 S.

Dixie Highway, 4th Floor, Coral Gables, Florida 33133, along with Samuel J.

Strauss (sam@turkestrauss.com) and Raina C. Borrelli (raina@turkestrauss.com)

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53703.

                                        /s/ Michael S. Hooker
                                        Attorney




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